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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   DAVID J. LORENZO,                            Civil Action No.

                Plaintiff,                      23-cv-21849 (CCC) (JRA)

                v.                              PRETRIAL SCHEDULING ORDER

   THE BOROUGH OF PALISADES
   PARK, NEW JERSEY, et al.,

                Defendants.


        THIS MATTER having come before the Court for a scheduling conference
 pursuant to Rule 16 of the Federal Rules of Civil Procedure on March 25, 2024, and
 for good cause shown:

         IT IS, on this 25th day of March 2024, ORDERED THAT:

                                  I. DISCLOSURES

         1.   Fed. R. Civ. P. 26 disclosures are to be exchanged on or before April 8,
 2024.

                         II. E-DISCOVERY CONFERENCE

        2.   E-Discovery conference pursuant to L.Civ.R. 26.1(d) shall take place on
 or before April 8, 2024.

                                   III. DISCOVERY

        3.    Written or paper fact discovery is to remain open through September
 25, 2024. No written or paper fact discovery is to be issued or engaged in beyond that
 date, except upon application and for good cause shown.

        4.     The parties may serve initial requests for production of documents and
 interrogatories on or before April 15, 2024, to be responded to within thirty (30) days
 of receipt. Consistent with Fed. R. Civ. P. 33(a)(1), the parties are limited to twenty-
 five (25) interrogatories, including all discrete subparts.



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        5.    Depositions of fact witnesses and individuals who will give lay opinion
 testimony based on particular competence in an area (including but not limited to
 treating physicians) are to be completed by a date to be determined by the Court.
 No objections to questions posed at depositions shall be made other than as to lack of
 foundation, form, or privilege. See Fed. R. Civ. P. 32(d)(3)(A). No instruction not to
 answer shall be given unless a privilege is implicated.

        6.     Counsel shall confer in a good faith attempt to resolve any and all
 discovery or case management disputes before seeking the Court’s intervention. See
 L.Civ.R. 37.1(a)(1); see also L.Civ.R. 16.1(f)(1). Should such efforts fail to resolve the
 dispute, the parties must raise the discovery dispute through a joint letter and shall
 do so in a manner consistent with the Court’s Case Management Order, available at
 https://www.njd.uscourts.gov/sites/njd/files/JRAPreferences.pdf.

        Failure by any party to meet and confer in good faith or participate in the joint
 letter protocol will result in the Court deeming that party to have waived its right to
 take any position on the discovery issue(s) in dispute.

      No discovery motion or motion for sanctions for failure to provide
 discovery shall be filed before utilizing the procedures set forth in these
 paragraphs without prior leave of Court.

         Discovery disputes (other than those arising during depositions) shall be
 brought to the Court’s attention no later than August 23, 2024. The Court will not
 consider any discovery dispute (other than those arising during depositions) brought
 to its attention after this date. If an unresolved dispute arises at a deposition, then
 the parties shall contact the Chambers of the Undersigned for assistance during the
 deposition. Failure to contact Chambers for intervention before adjourning that
 deposition may constitute waiver of the right to seek relief from the Court.

                 IV. DISCOVERY CONFIDENTIALITY ORDERS

         7.    Any proposed Discovery Confidentiality Order agreed to by the parties
 must strictly comply with Fed. R. Civ. P. 26(c) and L.Civ.R. 5.3. See also Glenmede
 Trust Co. v. Thompson, 56 F.3d 476 (3d Cir. 1995); Pansy v. Borough of Stroudsburg,
 23 F.3d 772 (3d Cir. 1994). Counsel are advised that a sample form of Discovery
 Confidentiality Order is contained in Appendix S to the Local Civil Rules. If the
 parties submit a confidentiality order that differs from Appendix S, they must submit:
 (1) a clean version of the proposed order that is ready for signature; and (2) a redline
 version that indicates the differences between the proposed order and the Appendix
 S order.




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                           V. FUTURE CONFERENCES

       8.     The Court may from time to time schedule further conferences as may
 be required, either sua sponte or at the request of a party.

       9.    All counsel are required to be on time and ready to proceed for all
 scheduled proceedings. In cases where the Court schedules telephonic status
 conferences involving incarcerated litigants, opposing counsel is directed to
 coordinate with the prison facility to have all parties on the conference call ahead of
 time and shall initiate the call at the scheduled time with all parties present.

       10.   Counsel should be prepared to discuss settlement at every conference
 with the Court. For settlement conferences, the senior attorney in charge of the case
 and the client(s) with full settlement authority must attend. In cases involving
 insurance companies and other corporate or business entities, the executive with
 settlement authority must be available for the conference.

        11.   Since all dates set forth herein are established with the assistance and
 knowledge of counsel, there will be no extensions except for good cause shown and by
 leave of Court, even with consent of all parties.

        12.   A copy of every pleading, document, or written communication with the
 Court shall be served on all other parties to the action or may be disregarded by the
 Court.

                                    VI. MOTIONS

       13.    No motions are to be filed without prior written permission from
 this Court, except motions in lieu of Answer under Fed. R. Civ. P. 12. These
 prerequisites must be met before any motions are filed and the motions will be
 returned if not met. All calendar or dispositive motions, if permitted, shall comply
 with L.Civ.R. 7.1(b) and other applicable local and federal rules.

        14.    Any request for leave to file a motion to add new parties or amend
 pleadings, whether by amended or third-party complaint, must be filed not later than
 June 25, 2024. Before seeking Court leave to file a motion to amend a pleading, a
 party shall circulate the proposed amended pleading among all parties in an effort to
 obtain consent to the amendment. Any request for leave of the Court to file a motion
 to amend shall contain a redlined version of the proposed amended pleading as an
 exhibit.

       15.   All dispositive motions must first be subject to a dispositive motion pre-
 hearing. Discovery generally must be completed prior to the filing of a dispositive
 motion.

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                                    VII. EXPERTS

       16.    All affirmative expert reports shall be delivered by a date to be
 determined by the Court. Any such report shall comport with the form and
 content requirements of Fed. R. Civ. P. 26(a)(2)(B).

       17.    All responding expert reports shall be delivered by a date to be
 determined by the Court. Any such report shall comport with the form and
 content requirements referenced above.

        18.   Expert discovery, including the depositions of any expert witnesses,
 shall be completed on or before a date to be determined by the Court.

        19.    No expert shall testify at trial as to any opinions or base those opinions
 on facts not substantially disclosed in his report.

                     VIII. FINAL PRETRIAL CONFERENCE

        20.    A final pretrial conference shall be conducted pursuant to Fed. R. Civ.
 P. 16(e) at a time and date to be assigned.

         21.   At least forty-five (45) days before the Final Pretrial Conference, all
 counsel are directed to meet and confer before the final pretrial conference to prepare
 the Final Pretrial Order in compliance with the form and content requirements of the
 Court. Plaintiff’s counsel shall prepare the Final Pretrial Order and shall submit it
 to all other counsel for approval before submitting it to the Court.

       22.    The original of the Final Pretrial Order shall be sent to Chambers via
 email at jra_orders@njd.uscourts.gov not later than fourteen (14) full business
 days before the final pretrial conference. All parties are responsible for the timely
 submission of the Final Pretrial Order.




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     23. FAILURE TO FOLLOW THIS ORDER MAY RESULT IN
 SANCTIONS PURSUANT TO Fed. R. Civ. P. 16(f) and 37.




                                               HON. JOSÉ R. ALMONTE
                                               UNITED STATES MAGISTRATE JUDGE




 Original:   Clerk of the Court
       cc:   Hon. Claire C. Cecchi, U.S.D.J.
             All Parties




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